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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                          CASE NO. 18-60839-CIV-ALTONAGA/Seltzer

  CERTAIN UNDERWRITERS AT
  LLOYD'S, LONDON, SYNDICATES
  2623/623,

         Plaintiff,

  v.

  SOLUTIONS RECOVERY CENTER, LLC,
  DANIEL J. CALLAHAN, SEAN
  CALLAHAN, and RICHARD GLASER

         Defendant.

       PLAINTIFF'S ANSWER AND AFFIRMATIVE DEFENSES TO DEFENDANTS'
                         AMENDED COUNTERCLAIM

         Plaintiff, CERTAIN UNDERWRITERS AT LLOYD'S, LONDON, SYNDICATES

  2623/623 (hereinafter, "Underwriters"), by and through undersigned counsel, hereby files its

  Answer and Affirmative Defenses to Defendants' Amended Counterclaim [D.E. 33], as follows:

                                              PARTIES

         1.      Underwriters admit the allegations in Paragraph 1 of Defendants' Amended

  Counterclaim for jurisdictional purposes only. Underwriters are without knowledge sufficient to

  form a belief as to all other allegations, and therefore deny same and demand strict proof thereof.

         2.      Underwriters admit the allegations in Paragraph 2 of Defendants' Amended

  Counterclaim for jurisdictional purposes only. Underwriters are without knowledge sufficient to

  form a belief as to all other allegations, and therefore deny same and demand strict proof thereof.
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         3.      Underwriters admit the allegations in Paragraph 3 of Defendants' Amended

  Counterclaim for jurisdictional purposes only. Underwriters are without knowledge sufficient to

  form a belief as to all other allegations, and therefore deny same and demand strict proof thereof.

         4.      Underwriters admit the allegations in Paragraph 4 of Defendants' Amended

  Counterclaim for jurisdictional purposes only. Underwriters are without knowledge sufficient to

  form a belief as to all other allegations, and therefore deny same and demand strict proof thereof.

         5.      Underwriters admit the allegations in Paragraph 5 of Defendants' Amended

  Counterclaim for jurisdictional purposes only.

         6.      Underwriters admit the allegations in Paragraph 6 of Defendants' Amended

  Counterclaim for jurisdictional purposes only.

                                      NATURE OF ACTION

         7.      Underwriters deny the allegations contained in Paragraph 7 of Defendants'

  Amended Complaint and demand strict proof thereof.

         8.      Underwriters deny the allegations contained in Paragraph 8 of Defendants'

  Amended Complaint and demand strict proof thereof.

                                  JURISDICTION AND VENUE

         9.      Underwriters admit the allegations in Paragraph 9 of Defendants' Amended

  Counterclaim for jurisdictional purposes only.

         10.     Underwriters admit the allegations in Paragraph 10 of Defendants' Amended

  Counterclaim for jurisdictional purposes only.

                                   FACTUAL ALLEGATIONS

         11.     The Policy referenced in Paragraph 11 of Defendants' Amended Counterclaim is a

  legal document that speaks for itself. All allegations of fact inconsistent with a fair reading or



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  construction of the Policy are denied. Any and all other allegations are denied and Underwriters

  demand strict proof thereof.

         12.     The Policy referenced in Paragraph 12 of Defendants' Amended Counterclaim is a

  legal document that speaks for itself. All allegations of fact inconsistent with a fair reading or

  construction of the Policy are denied. Any and all other allegations are denied and Underwriters

  demand strict proof thereof.

         13.     The Policy and Amended Complaint referenced in Paragraph 13 of Defendants'

  Amended Counterclaim are legal documents that speak for themselves. All allegations of fact

  inconsistent with a fair reading or construction of the Policy and Amended Complaint are denied.

  Any and all other allegations are denied and Underwriters demand strict proof thereof.

         14.     The Policy referenced in Paragraph 14 of Defendants' Amended Counterclaim is a

  legal document that speaks for itself. All allegations of fact inconsistent with a fair reading or

  construction of the Policy are denied. Any and all other allegations are denied and Underwriters

  demand strict proof thereof.

         15.     The Kipu Underlying Action referenced in Paragraph 15 of Defendants' Amended

  Counterclaim is a legal document that speaks for itself. Underwriters deny Defendants'

  characterization of the contents of the Kipu Underlying Complaint. Any and all other allegations

  are denied and Underwriters demand strict proof thereof.

         16.     Underwriters deny the allegations in Paragraph 16 of Defendants' Amended

  Counterclaim and demand strict proof thereof.

         17.     Underwriters deny the allegations in Paragraph 17 of Defendants' Amended

  Counterclaim and demand strict proof thereof.




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         18.     The April 16, 2018 letter referenced in Paragraph 18 of Defendants' Amended

  Counterclaim is a legal document that speaks for itself. Underwriters deny Defendants'

  characterization of the contents of the April 16, 2018 letter. Any and all other allegations are denied

  and Underwriters demand strict proof thereof.

         19.     Underwriters admit that they denied coverage to Defendants for the defense of the

  Kipu Underlying Action, but deny and all allegations of wrongdoing, whether express or implied,

  contained in Paragraph 19 of Defendants' Amended Counterclaim. Any and all other allegations

  are denied and Underwriters demand strict proof thereof.

         20.     The Complaint and Amended Complaint filed by Underwriters referenced in

  Paragraph 20 of Defendants' Amended Counterclaim are legal documents that speak for

  themselves. All allegations of fact inconsistent with a fair reading or construction of the Complaint

  and Amended Complaint are denied. Any and all other allegations are denied and Underwriters

  demand strict proof thereof.

                            COUNT I: DECLARATORY JUDGMENT
                                      (Duty to Defend)

         21.     Underwriters adopt and incorporate by reference the answers contained in

  Paragraphs 1-20 of this Answer and Affirmative Defenses, as though fully set forth herein.

         22.     Underwriters deny the allegations contained in Paragraph 22 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

         23.     Underwriters deny the allegations contained in Paragraph 23 of Defendants'

  Amended Counterclaim and demand strict proof thereof.




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          24.     Underwriters are without knowledge sufficient to form a belief as to the allegations

  in Paragraph 24 of Defendants' Amended Counterclaim, and therefore deny same and demand

  strict proof thereof.

          25.     Underwriters are without knowledge sufficient to form a belief as to the allegations

  in Paragraph 25 of Defendants' Amended Counterclaim, and therefore deny same and demand

  strict proof thereof.

          26.     Underwriters deny the allegations contained in Paragraph 26 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

          27.     Underwriters deny the allegations contained in Paragraph 27 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

          28.     Underwriters deny the allegations contained in Paragraph 28 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

          29.     Underwriters deny the allegations contained in Paragraph 29 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

          30.     Underwriters deny the allegations contained in Paragraph 30 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

          31.     Underwriters admit that all or most of Kipu's allegations are not made against

  insureds under the Policy. Underwriters also admit that they do not owe a duty to defend the

  Defendants in the Kipu action. Underwriters deny any and all remaining allegations in Paragraph

  31 of Defendants' Amended Counterclaim, including Defendants' characterization of the contents

  of the Kipu complaint, and demand strict proof thereof.

          32.     The Policy exclusion and Underwriters' Amended Complaint referenced in

  Paragraph 32 of Defendants' Amended Counterclaim speak for themselves. All allegations of fact



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  inconsistent with a fair reading or construction of the Policy and Amended Complaint are denied.

  Any and all other allegations are denied and Underwriters demand strict proof thereof.

         33.    The Policy exclusion and Underwriters' Amended Complaint referenced in

  Paragraph 33 of Defendants' Amended Counterclaim speak for themselves. All allegations of fact

  inconsistent with a fair reading or construction of the Policy and Amended Complaint are denied.

  Any and all other allegations are denied and Underwriters demand strict proof thereof.

         34.    The Policy exclusion and Underwriters' Amended Complaint referenced in

  Paragraph 34 of Defendants' Amended Counterclaim speak for themselves. All allegations of fact

  inconsistent with a fair reading or construction of the Policy and Amended Complaint are denied.

  Any and all other allegations are denied and Underwriters demand strict proof thereof.

         35.    The Policy exclusion and Underwriters' Amended Complaint referenced in

  Paragraph 35 of Defendants' Amended Counterclaim speak for themselves. All allegations of fact

  inconsistent with a fair reading or construction of the Policy and Amended Complaint are denied.

  Any and all other allegations are denied and Underwriters demand strict proof thereof.

         36.    The Policy exclusion and Underwriters' Amended Complaint referenced in

  Paragraph 36 of Defendants' Amended Counterclaim speak for themselves. All allegations of fact

  inconsistent with a fair reading or construction of the Policy and Amended Complaint are denied.

  Any and all other allegations are denied and Underwriters demand strict proof thereof.

         37.    The Policy provision and Underwriters' Amended Complaint referenced in

  Paragraph 37 of Defendants' Amended Counterclaim speak for themselves. All allegations of fact

  inconsistent with a fair reading or construction of the Policy and Amended Complaint are denied.

  Any and all other allegations are denied and Underwriters demand strict proof thereof.




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         38.    Underwriters deny the allegations contained in Paragraph 38 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

         39.    The Kipu Complaint referenced in Paragraph 39 of Defendants' Amended

  Counterclaim speaks for itself. All allegations of fact inconsistent with a fair reading or

  construction of the Kipu Complaint are denied. Any and all other allegations are denied and

  Underwriters demand strict proof thereof.

         40.    The Policy provision and Underwriters' Amended Complaint referenced in

  Paragraph 40 of Defendants' Amended Counterclaim speak for themselves. All allegations of fact

  inconsistent with a fair reading or construction of the Policy and Amended Complaint are denied.

  Any and all other allegations are denied and Underwriters demand strict proof thereof.

         41.    The Policy provision and Underwriters' Amended Complaint referenced in

  Paragraph 41 of Defendants' Amended Counterclaim speak for themselves. All allegations of fact

  inconsistent with a fair reading or construction of the Policy and Amended Complaint are denied.

  Any and all other allegations are denied and Underwriters demand strict proof thereof.

         42.    Underwriters admit that coverage is excluded for punitive and exemplary damages

  as alleged in Paragraph 42 of Defendants' Amended Complaint. Any and all other allegations are

  denied and Underwriters demand strict proof thereof.

         43.    Underwriters deny the allegations contained in Paragraph 43 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

         44.    Underwriters deny the allegations contained in Paragraph 44 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

         45.    Underwriters deny the allegations contained in Paragraph 45 of Defendants'

  Amended Counterclaim and demand strict proof thereof.



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         46.    Underwriters admit that a controversy exists between Defendants and

  Underwriters. Underwriters deny any and all remaining allegations in Paragraph 46 of the

  Amended Counterclaim and demand strict proof thereof.

         47.    Underwriters deny the allegations contained in Paragraph 47 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

         48.    Underwriters deny the allegations contained in Paragraph 48 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

         Underwriters deny that Defendants are entitled to any of the relief they seek in the

  "WHEREFORE" clause following Paragraph 48 of the Amended Counterclaim.

                COUNT II: BREACH OF CONTRACT – DUTY TO DEFEND

         49.    Underwriters adopt and incorporate by reference the answers contained in

  Paragraphs 1-48 of this Answer and Affirmative Defenses, as though fully set forth herein.

         50.    Underwriters deny the allegations contained in Paragraph 50 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

         51.    Underwriters deny the allegations contained in Paragraph 51 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

         52.    Underwriters admit that they denied coverage to Defendants for the defense of the

  Kipu Underlying Action, but deny and all allegations of wrongdoing, whether express or implied,

  contained in Paragraph 52 of Defendants' Amended Counterclaim. Any and all other allegations

  are denied and Underwriters demand strict proof thereof.

         53.    Underwriters deny the allegations contained in Paragraph 53 of Defendants'

  Amended Counterclaim and demand strict proof thereof.




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         54.     Underwriters deny the allegations contained in Paragraph 54 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

         55.     Underwriters deny the allegations contained in Paragraph 55 of Defendants'

  Amended Counterclaim and demand strict proof thereof.

         Underwriters deny that Defendants are entitled to any of the relief they seek in the

  "WHEREFORE" clause following Paragraph 55 of the Amended Counterclaim.

         56.     Any and all allegations that have not been expressly admitted herein are hereby

  denied and Underwriters demand strict proof thereof.

         57.     Underwriters reserve the right to amend this Answer and Affirmative Defenses to

  Defendants' Amended Counterclaim as further information is revealed.

                                   AFFIRMATIVE DEFENSES

         FIRST AFFIRMATIVE DEFENSE

         Underwriters deny any and all allegations in Defendants' Amended Counterclaim that have

  not been expressly admitted herein.

         SECOND AFFIRMATIVE DEFENSE

         Defendants' Amended Counterclaim fails to state a claim upon which relief may be granted.

         THIRD AFFIRMATIVE DEFENSE

         Defendants' Amended Counterclaim is barred in whole or in part by the doctrine of

  estoppel.

         FOURTH AFFIRMATIVE DEFENSE

         Defendants' Amended Counterclaim is barred in whole or in part because the insureds have

  breached their contractual obligations under the terms of the Policy at issue.




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            FIFTH AFFIRMATIVE DEFENSE

            Defendants' Amended Counterclaim is barred in whole or in part by the doctrine of waiver.

            SIXTH AFFIRMATIVE DEFENSE

            Defendants' Amended Counterclaim is barred in whole or in part by the doctrine of unclean

   hands.

            SEVENTH AFFIRMATIVE DEFENSE

            Defendants' Amended Counterclaim is barred in whole or in part by the doctrine of laches.

            EIGHTH AFFIRMATIVE DEFENSE

            Defendants' Amended Counterclaim is barred in whole or in part because Underwriters

   complied with their contractual duties under the Policy at issue.

            NINTH AFFIRMATIVE DEFENSE

            Defendants' Amended Counterclaim is barred in whole or in part because the allegations

   in the Kipu Complaint relied upon by Defendants are excluded under the Policy at issue.

            TENTH AFFIRMATIVE DEFENSE

            Defendants' Amended Counterclaim is barred in whole or in part because the allegations

   in the Kipu Complaint relied upon by Defendants were made in whole or in part against parties

   not insured under the Policy at issue.

            ELEVENTH AFFIRMATIVE DEFENSE

            Defendants' Amended Counterclaim is barred in whole or in part because Defendants knew

   or should have known of an occurrence that may lead to a claim prior to providing notice of the

   claim to Underwriters.

            TWELFTH AFFIRMATIVE DEFENSE




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          Defendants' Amended Counterclaim is barred in whole or in part because the damages

   complained of by Defendants, if any, were caused in whole or in part by third parties. Underwriters

   are entitled to an apportionment of damages based upon the degree of fault of all other persons or

   entities, whether parties to this litigation or not, pursuant to Fabre v. Martin, 623 So.2d 1182 (Fla.

   1993) and Fla. Stat. 768.31 and 768.81(3). Accordingly, Underwriters' percentage or

   apportionment of fault, if any, should be compared to and reduced by the percentage of fault of all

   other individuals or entities who caused or contributed to Defendants' damages, if any, including

   third parties and individuals and entities not named in this litigation.

          THIRTEENTH AFFIRMATIVE DEFENSE

          Defendants' Amended Counterclaim is barred in whole or in part because the damages

   complained of by Defendants, if any, were caused by the actions of the Defendants. Underwriters

   are entitled to an apportionment of damages based upon the degree of fault of all other persons or

   entities, whether parties to this litigation or not, pursuant to Fabre v. Martin, 623 So.2d 1182 (Fla.

   1993) and Fla. Stat. 768.31 and 768.81(3). Accordingly, Underwriters' percentage or

   apportionment of fault, if any, should be compared to and reduced by the percentage of fault of all

   other individuals or entities who caused or contributed to Defendants' damages, if any, including

   Defendants themselves.

          FOURTEENTH AFFIRMATIVE DEFENSE

          To the extent that Defendants have failed to mitigate, minimize, or avoid any damages,

   recovery against Underwriters, if any, must be reduced by the amount attributable to such failure.

          FIFTEENTH AFFIRMATIVE DEFENSE

          Underwriters are entitled to a setoff to the extent any settlement and/or benefits are received

   by or on behalf of Defendants from any collateral sources. Underwriters further allege that they



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   are entitled to setoff pursuant to Fla. Stat. 768.041 for all payments made as consideration for a

   release or covenant in partial satisfaction of the damages sought by Defendants.

             SIXTEENTH AFFIRMATIVE DEFENSE

             There is no coverage under the Policy or applicable law for Defendants to the extent they

   knew or should have known of the loss prior to the inception of the Policy.

             SEVENTEENTH AFFIRMATIVE DEFENSE

             There is no coverage under the Policy or applicable law to the extent the losses sued upon

   were in progress on or before the inception date of the Policy.

             EIGHTEENTH AFFIRMATIVE DEFENSE

             There is no coverage under the Policy to the extent Defendants failed to provide timely and

   proper notice of the claim and/or suit as required by the Policy.

             NINETEENTH AFFIRMATIVE DEFENSE

             There is no coverage under the Policy to the extent a claim is made against Daniel Callahan,

   Sean Callahan, and/or Richard Glaser while they were not acting within the scope and duties of

   their employment with Solutions Recovery Center.

             TWENTIETH AFFIRMATIVE DEFENSE

             The Kipu Complaint does not allege Bodily Injury as that term is defined in the Policy.

   Therefore, there is no coverage under the Bodily Injury portion of Insuring Agreement I.A.1 of the

   Policy.

             TWENTY-FIRST AFFIRMATIVE DEFENSE

             The Kipu Complaint does not allege liability arising out of Professional Services as that

   term is defined in the Policy. Therefore, there is no coverage under the Professional Services

   portion of Insuring Agreement I.A.1 of the Policy.



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          TWENTY-SECOND AFFIRMATIVE DEFENSE

          The Kipu Complaint does not allege Personal Injury as that term is defined in the Policy.

   Therefore, there is no coverage under the Personal Injury portion of Insuring Agreement I.A.2 of

   the Policy.

          TWENTY-THIRD AFFIRMATIVE DEFENSE

          The Kipu Complaint does not allege Property Damage as that term is defined in the Policy.

   Therefore, there is no coverage under the Property Damage portion of Insuring Agreement I.A.2

   of the Policy.

          TWENTY-FOURTH AFFIRMATIVE DEFENSE

          The Kipu Complaint does not allege Advertising Liability as that term is defined in the

   Policy. Therefore, there is no coverage under the Advertising Liability portion of Insuring

   Agreement I.A.2 of the Policy.

          TWENTY-FIFTH AFFIRMATIVE DEFENSE

          There is no coverage under any insuring agreement of the Policy for the claims asserted in

   the Kipu Complaint.

          TWENTY-SIXTH AFFIRMATIVE DEFENSE

          There is no coverage for the claims asserted in the Kipu Complaint because some or all of

   the claims in the Kipu Complaint are excluded under the Policy by Exclusion IV.2.(n), which

   excludes coverage for "any Claim relating to Advertising Liability arising out of: (2) infringement

   of patent, trademark, service mark, and trade name, other than titles or slogans by use thereof on

   or in connection with goods, products or services sold, offered for sale or advertised…"




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           TWENTY-SEVENTH AFFIRMATIVE DEFENSE

           There is no coverage for the claims asserted in the Kipu Complaint because some or all of

   the claims in the Kipu Complaint are excluded under the Policy by Exclusion IV.3.(a), which

   excludes coverage for "any Claim made by or against or in connection with any business enterprise

   (including the ownership, maintenance or care of any property in connection therewith), not named

   in the Declarations, which is owned by any Insured or in which any Insured is a trustee, partner,

   officer, director or Employee."

           TWENTY-EIGHTH AFFIRMATIVE DEFENSE

           There is no coverage for the claims asserted in the Kipu Complaint because some or all of

   the claims in the Kipu Complaint are excluded under the Policy by Exclusion IV.3.(d), which

   excludes coverage for "any claim or circumstances that might lead to a claim known to any insured

   prior to the inception of this Policy and not disclosed to the Underwriters at inception."

           TWENTY-NINTH AFFIRMATIVE DEFENSE

           There is no coverage for the claims asserted in the Kipu Complaint because some or all of

   the claims in the Kipu Complaint are excluded under the Policy by Exclusion IV.3.(u), which

   excludes coverage for "any Claim based upon or arising out of any Insured gaining any profit,

   remuneration or advantage to which such Insured was not legally entitled."

           THIRTIETH AFFIRMATIVE DEFENSE

           There is no coverage for the claims asserted in the Kipu Complaint because some or all of

   the claims in the Kipu Complaint are excluded under the Policy by Exclusion IV.3.(y), which

   excludes coverage for Claims "based upon or arising out of any actual or alleged violation of any

   federal, state, or local anti-trust, restraint of trade, unfair competition, or price fixing law, unfair




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   or deceptive trade practices, or consumer protection any rules or regulations promulgated

   thereunder."

          THIRTY-FIRST AFFIRMATIVE DEFENSE

          There is no coverage for the claims asserted in the Kipu Complaint because some or all of

   the claims in the Kipu Complaint are excluded under the Policy by Exclusion IV.3.(j), which

   excludes coverage for "any Claim for punitive or exemplary Damages, or Damages which are a

   multiple of compensatory Damages, fines, sanctions, taxes or penalties, or the return of or

   reimbursement of fees, costs or expenses charged by any Insured."

          THIRTY-SECOND AFFIRMATIVE DEFENSE

          There is no coverage for the claims asserted in the Kipu Complaint because some or all of

   the claims in the Kipu Complaint are excluded under the Policy by Section II.(h), which provides,

   "This Policy shall not apply to any liability arising out of the conduct of any partnership or joint

   venture of which the Insured is a partner or member and which is not designated in this Policy as

   a Named Insured."

          THIRTY-THIRD AFFIRMATIVE DEFENSE

          There is no coverage for the claims asserted in the Kipu Complaint because some or all of

   the claims in the Kipu Complaint are excluded under the Policy by Exclusion IV.2.(h), which

   excludes coverage for "any Claim arising out of Property Damage to (1) property owned or

   occupied or rented to the Insured; (2) property used by the Insured; or (3) property in the care,

   custody or control of the Insured or as to which the Insured is for any purpose exercising physical

   control."




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          THIRTY-FOURTH AFFIRMATIVE DEFENSE

          There is no coverage for the claims asserted in the Kipu Complaint because some or all of

   the claims in the Kipu Complaint are excluded under the Policy by Exclusion IV.2.(j), which

   excludes coverage for "any Claim arising out of loss of use of tangible property which has not

   been physically injured or destroyed resulting from: (a) a delay in lack of performance by or on

   behalf of the Named Insured of any contract or agreement; or (2) the failure of the Named Insured's

   Products or work performed by or on behalf of the Named Insured to meet the level of

   performance, quality, fitness or durability warranted or represented by the Named Insured."

          THIRTY-FIFTH AFFIRMATIVE DEFENSE

          There is no coverage for the claims asserted in the Kipu Complaint because some or all of

   the claims in the Kipu Complaint are excluded under the Policy by Exclusion IV.3.(e), which

   excludes coverage for "any Claim or circumstance that might lead to a Claim arising out of any

   negligent act, error or omission or Accident" which first took place prior to the Retroactive Date.

          THIRTY-SIXTH AFFIRMATIVE DEFENSE

          There is no coverage for the claims asserted in the Kipu Complaint because some or all of

   the claims in the Kipu Complaint are excluded under the Policy by Exclusion IV.3.(q), which

   excludes coverage for "any Claim based upon or arising out of any Insured's data processing."

          THIRTY-SEVENTH AFFIRMATIVE DEFENSE

          There is no coverage for the claims asserted in the Kipu Complaint because some or all of

   the claims in the Kipu Complaint are excluded under the Policy by Exclusion IV.3.(r), which

   excludes coverage for "any Claim for Personal Injury, Property Damage or Advertising Liability

   based upon or arising out of the Named Insured's Products."




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          THIRTY-EIGHTH AFFIRMATIVE DEFENSE

          Defendants' Amended Counterclaim is barred in whole or in part because the Kipu

   Complaint alleges that the Defendants intentionally entered into a conspiracy to misappropriate

   intellectual property, for which there is no coverage under the Policy.

          THIRTY-NINTH AFFIRMATIVE DEFENSE

          Defendants' Amended Counterclaim is barred in whole or in part because the allegations

   in the Kipu Complaint precede the applicable retroactive date of the Policy.

          FORTIETH AFFIRMATIVE DEFENSE

          Defendants' Amended Counterclaim is barred in whole or in part because the allegations

   in the Kipu Complaint are excluded under the Retroactive Limitations Clause, which provides that

   there is no coverage for any Claim "(a) arising out of any circumstance or occurrence which has

   been notified to the insurer of any other Policy of insurance, self-insurance or trust effected prior

   to the inception of the Policy; (b) arising out of any circumstance or occurrence known to the

   Insured prior to the inception hereof and not disclosed to the Underwriters at inception; (c) arising

   out of any prior or pending litigation as of the inception of this Policy or derived from the same

   facts and/or circumstances alleged in such prior or pending litigation."

          FORTY-FIRST AFFIRMATIVE DEFENSE

          To the extent that the Policy provides coverage to Defendants, which Underwriters

   expressly deny, such coverage is excess to any other insurance coverage available to Defendants.

          FORTY-SECOND AFFIRMATIVE DEFENSE

          Underwriters have no obligation to Defendants to the extent that the named insured

   misrepresented or omitted material information in connection with the application for insurance

   and did not comply with its disclosure obligations. To the extent the named insured negligently or



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   intentionally misrepresented or failed to disclosure facts that were material to the risks undertaken

   by Underwriters, Defendants' claims are barred and the insurance is void ab initio.

          FORTY-THIRD AFFIRMATIVE DEFENSE

          There is no coverage under the Policy because the allegations were not an "Accident" under

   the Policy

          FORTY-FOURTH AFFIRMATIVE DEFENSE

          The Declaratory Judgment claim in Defendants' Amended Counterclaim should be

   dismissed as duplicative of the Breach of Contract claim because both claims seek adjudication on

   the same merits, arise out of the same factual dispute and circumstances, and seek the same relief.

   Ministerio Evangelistico Int'l v. United Specialty Ins. Co., 2017 WL 1363344 at *1 (S.D. Fla.

   2017); Miami Yacht Charters v. Nat'l Union Fire Ins. Co., 2012 WL 1416428 at *2 (S.D. Fla.

   2012); Fernando Grinberg Trust Success Int'l Props, LLC v. Scottsdale Ins. Co., 2010 WL

   2510662 (S.D. Fla. 2010).

          FORTY-FIFTH AFFIRMATIVE DEFENSE

          Coverage is barred, in whole or in part, because the Kipu Complaint alleges breach of

   contract, which is not covered under the Policy.

          FORTY-SIXTH AFFIRMATIVE DEFENSE

          Coverage may be barred, in whole or in part, for any amounts paid, or to be paid, by

   Underwriters that are voluntary payments, unreasonable, excessive or unjustified.

          FORTY-SEVENTH AFFIRMATIVE DEFENSE

          The Policy contains a deductible of $10,000. To the extent there is any coverage under the

   Policy, which Underwriters expressly deny, such coverage is subject to the deductible.




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          FORTY-EIGHTH AFFIRMATIVE DEFENSE

          Defendants' Amended Counterclaim is barred in whole or in part because Defendants'

   claim for defense relies upon information outside of the eight corners of the Kipu Complaint and

   the Policy.

          FORTY-NINTH AFFIRMATIVE DEFENSE

          Underwriters' rights and obligations are defined and controlled by the limits of liability,

   terms, exclusions, conditions, limitations, endorsements, and other provisions of the Policy, which

   are incorporated herein by reference. Underwriters reserve the right to deny coverage under any

   and all terms, exclusions, conditions, limitations, endorsements, or other provisions of the Policy,

   whether or not raise in these Affirmative Defenses or in a prior denial letter.

          FIFTIETH AFFIRMATIVE DEFENSE

          Underwriters assert, by reference, any and all affirmative defenses available to it under the

   Federal Rules of Civil Procedure and any other applicable laws.

                                    RESERVATION OF RIGHTS

          Underwriters reserve the right to amend or assert additional defenses as investigation and

   discovery continues.




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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 24th day of August 2018, the foregoing document was

   electronically filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record on the attached Service List via

   transmission of Notices of Electronic Filing generated by CM/ECF.


                                                         Respectfully submitted,

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                                          SERVICE LIST

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